— ee

ee

ee er

ff
~~, =~
OP Kren
pxermiive Ubanther
EEG Ganga go kU SE chant Seen
NSS SHO
~~

No. 202.4 |

Continuing Temporary Suspension and Modification of Laws
Relating to the Disaster Emergency

WHEREAS, on March 7, 2020, I issued Executive Order Number 202, declaring a State disaster
emergency for the entire State of New York; .

WHEREAS, both travel-related cases and community contact transmission of COVID-19 have
deen documented in New York State and are expected to be continue; and

NOW, THEREFORE, by virtue of the authority vested inme by Section 29-a of Article 2-B of the
Executive Law to issue any directive during a disaster emergency necessary to cope with the disaster, I

hereby issue the following directives for the period from the date of Executive Order through April 15,
2020:

* Any local government or political subdivision shall, effective March 17, 2020, allow non-
essential personnel as determined by the local government, to be able to work from home or
take leave without charging accruals, except for those personnel essential to the locality’s
response to the COVID-19 emergency. Such non-essential personnel shall total no less than

fifty-percent (50%) of the total number of employees across the entire workforce of such local
govermment or political subdivision.

* Restrictions on reporting to work for any state worker whose service is non-essential, or not

required to support the COVID-19 response, are expanded to all counties in the State of New
York.

* Notwithstanding any prior directives, every school in the state of New York is hereby directed to
close no later than Wednesday, March 18, 2020, for a period of two weeks, ending April 1, 2020.
The state shall reassess at that time whether to extend such closure beyond this date and may
continue to suspend the 180 day instructional requirement. The 180 day suspension will be adjusted
to the state’s allowed closure directive. Schools that exceed the period will not be exempted from
the 180-day rule. School districts shall develop a plan for alternative instructional options,
distribution and availability of meals, and child care, with an emphasis on serving children of
parents in the health care profession or first responders who are critical to the response effort. Such
plans shall be submitted to the State Education Department and may be amended or modified by the
State Education Department, in consultation with the Department of Health and Office of Children
and Family Services at any time. School districts in Nassau County, Suffolk County and
Westchester County and the City of New York must submit such plans for approval no later than
midnight, March 17, 2020 to the State,
Case 1:20-cv-00840-BKS-CFH Document 61-21 Filed 09/04/20 Page 2 of 2

* Any village election to be held March 17, 2020 shall be postponed and any elected official
holding such position shall remain in office until such time as a new election is held.

GIVEN under my hand and the Privy Seal of the
State in the City of Albany the
sixteenth day of March in the year:

two thousand twenty.

BY THE GOVERNOR

Secretary to the Governor
